      Case 2:17-cv-00186 Document 26 Filed in TXSD on 04/05/18 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

 MELISSA MORENO,                 §
                                 §
      Plaintiff                  §
                                 §
 vs.                             §                            Case No. 2:17-cv-186
                                 §
 SUPERIOR HEALTHPLAN, INC., AND §
 CENTENE COMPANY OF TEXAS, L.P., §
      §                          §
                                 §
      Defendants.

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       NOW COME Plaintiff Melissa Moreno (“Plaintiff”) and Defendants Superior Healthplan,

Inc. and Centene Company of Texas, L.P. (“Defendants”) by and through counsel and pursuant to

Federal Rule of Civil Procedure 41(A) and hereby stipulate to the dismissal of this case in its

entirety and with prejudice. Plaintiff and Defendants further stipulate that all claims asserted in

this case against Defendants are dismissed in their entirety and with prejudice. Plaintiff and

Defendants further stipulate that they shall bear their own costs, expenses and fees including, but

not limited to, attorneys’ fees. Therefore, the case should be dismissed with prejudice, with each

party bearing its own costs, expenses and fees, including, but not limited to, attorneys’ fees.

Dated: April ___, 2018


 Respectfully Submitted,                             Respectfully Submitted,

 By: /s/ Salvador Davila                             By: /s/ Mauro F. Ruiz
 Allan G. King (Attorney-in-Charge)                  Mauro F. Ruiz (Attorney-in-charge)
 Texas Bar No. 11433200                              Texas Bar No. 24007960
 Federal I.D. No. 13373                              Federal I.D. No. 23774
 Salvador Davila
 Texas State Bar No. 24065119
 Federal I.D. No. 1419035




                                                 1
       Case 2:17-cv-00186 Document 26 Filed in TXSD on 04/05/18 Page 2 of 2



 LITTLER MENDELSON, PC                                RUIZ LAW FIRM PLLC
 100 Congress Avenue, Suite 1400                      118 West Pecan Blvd.
 Austin, Texas 78701                                  McAllen, Texas 78501
 512.982.7250                                         956.259.8200
 512.982.7248 - facsimile                             956.259.8203 - facsimile
 agking@littler.com                                   mruiz@mruizlaw.com
 sdavila@littler.com
                                                      ATTORNEYS FOR PLAINTIFF

 By: /s/ Breanne Sheetz Martell
 Douglas E. Smith
 Pro Hac Vice
 Washington State Bar No. 17319
 desmith@littler.com
 Breanne Sheetz Martell
 Pro Hac Vice
 Washington State Bar No. 39632
 bsmartell@littler.com
 LITTLER MENDELSON, P.C.
 One Union Square
 600 University Street, Suite 3200
 Seattle, WA 98101.3122
 Telephone: (206) 623-3300
 Facsimile: (206)447-6965
 ATTORNEYS FOR DEFENDANT


                                   CERTIFICATE OF SERVICE

        I hereby certify that on April 3, 2018, I electronically filed this document with the clerk of
court for the U.S. District Court, Southern District of Texas, using the Electronic Case Filing
System of the Court. The Electronic Case Filing System sent a “Notice of Electronic Filing” to
all counsel of record, consenting in writing to accept service of this document by electronic means.

           Mauro F. Ruiz
           RUIZ LAW FIRM, P.L.L.C.
           118 W. Pecan
           McAllen, TX 78501
           mruiz@mruizlaw.com




                                               /s/ Salvador Davila
                                               Salvador Davila
Firmwide:153764765.1 084761.1006




                                                  2
